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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 ANGELA ROMAGOSA FERNANDEZ,                     )
                                                )
                      Plaintiff,                )
                                                )
              v.                                )    C.A. No. 21-1606 (MN)
                                                )
 TRAFIGURA TRADING, LLC,                        )
                                                )
                      Defendant.                )


                               MOTION AND ORDER
                           FOR ADMISSION PRO HAC VICE

      Pursuant to Local Rule 83.5 and the attached certifications, counsel moves the admission

pro hac vice of Alex J. Brackett, Jeremy S. Byrum, Kathryn M. Barber and Jah Akande of

MCGUIREWOODS LLP to represent defendant Trafigura Trading LLC in this matter.

                                                    MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                                    /s/ Jack B. Blumenfeld

                                                    Jack B. Blumenfeld (#1014)
                                                    1201 North Market Street
                                                    P.O. Box 1347
                                                    Wilmington, DE 19899
                                                    (302) 658-9200
                                                    jblumenfeld@morrisnichols.com

                                                    Attorneys for Defendant
December 6, 2021
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                             ORDER GRANTING MOTION

       IT IS HEREBY ORDERED that counsel’s motion for admission pro hac vice of Alex J.

Brackett, Jeremy S. Byrum, Kathryn M. Barber and Jah Akande is granted.



Dated: ______________________
                                                        United States District Judge
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          CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

       Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am

admitted, practicing and in good standing as a member of the Bar of the Commonwealth of

Virginia and pursuant to Local Rule 83.6 submit to the disciplinary jurisdiction of this Court for

any alleged misconduct which occurs in the preparation or course of this action. I also certify that

I am generally familiar with this Court’s Local Rules. In accordance with Standing Order for

District Court Fund effective 9/1/16, I further certify that the annual fee of $25.00 has been paid

   to the Clerk of Court, or, if not paid previously, the fee payment will be submitted       to the

Clerk’s Office upon the filing of this motion.




Date: December 6, 2021                               /s/ Alex J. Brackett
                                                     Alex J. Brackett
                                                     MCGUIREWOODS LLP
                                                     Gateway Plaza
                                                     800 East Canal Street
                                                     Richmond, VA 23219-3916
                                                     (804) 986-5331
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          CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

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Clerk’s Office upon the filing of this motion.




Date: December 6, 2021                               /s/ Jeremy S. Byrum
                                                     Jeremy S. Byrum
                                                     MCGUIREWOODS LLP
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                                                     800 East Canal Street
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                                                     (804) 986-5331
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Clerk’s Office upon the filing of this motion.




Date: December 6, 2021                               /s/ Kathryn M. Barber
                                                     Kathryn M. Barber
                                                     MCGUIREWOODS LLP
                                                     Gateway Plaza
                                                     800 East Canal Street
                                                     Richmond, VA 23219-3916
                                                     (804) 986-5331
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Clerk’s Office upon the filing of this motion.




Date: December 6, 2021                               /s/ Jah Akande
                                                     Jah Akande
                                                     MCGUIREWOODS LLP
                                                     Gateway Plaza
                                                     800 East Canal Street
                                                     Richmond, VA 23219-3916
                                                     (804) 986-5331
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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 6, 2021, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on December

6, 2021, upon the following in the manner indicated:

 Michael L. Vild, Esquire                                              VIA ELECTRONIC MAIL
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 Attorneys for Plaintiff

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 Attorneys for Plaintiff

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 Attorneys for Plaintiff


                                                    /s/ Jack B. Blumenfeld

                                                    Jack B. Blumenfeld (#1014)
